Case 1:18-cv-01074-PLl\/l-RSK ECF No. 1-6 filed 09/14/18 PagelD.22 Page 1 of 8

 

Doug Hughes

From: Michael J. Pou|in <Michae|.Pou|in@muskegonsheriff.com>
Sent: Friday, March 23, 2018 9:59 AM

To: Doug Hughes '

Subject: Harbor Guard Emai| Thread #5

Michael J. Pou|in
Nluskegon County Sheriff
990 Terrace St.
l\/|uskegon Nll, 49442
231-724~6351

 

From: Michael J. Pou|in

Sent: Friday, March 09, 2018 12:32 PM

To: 'tim@harborguardboats.com'

Cc: 'danny@harborguardboats.com'; 'Rao Manka|'; Eisenbarth, Mark; 'Doug Hughes'
Subject: RE: Boat

l\/lr. Spooner,

Just checking in for an update on my request to have the fixed equipment installed in Michigan, and a follow-up on the
additional equipment?

Thank you.

Michael J. Poulin
lVluskegon County Sheriff
990 Terrace St.
l\/luskegon Ml, 49442
231-724-6351

 

From: Michael J. Pou|in
Sent: Friday, March 02, 2018 9:47 AM
To: 'tim@harborguardboats.com'

Cc: dannv@harborquardboats.com; 'Rao Manka|'; Eisenbarth, Mark; 'Doug Hughes'
Subject: RE: Boat

Mr. Spooner,

For clarity of the parts we have not received l have attached the following documents.
1

Case 1:18-cv-01074-PLl\/l-RSK ECF No. 1-6 filed 09/14/18 PagelD.ZS Page 2 of 8

1. Harbor Guard Firehawk 32’ "Boat and Trai|er Specifications”
2. Harbor Guard Boats lnc. Quote (11/06/2014)
3. Harbor Guard Boats lnc. invoice (12/10/2014)

On two of the documents you will find areas highlighted in yellow. These areas either indicate equipment which was
never received, completed or had been installed incorrectly per the "Boat and Trai|er Specifications” document.

These items are:

1. Boat and Trai|er Specifications:

~ 3.6 Fuel System: Fuel fill on the starboard side on top of the aft gunwale. (fuel fill was installed on the port side
towards the bow)

~ 3.7 Electrica| System: A Kohler generator located in the bilge area with an hour meter and start button on the
dash. The start button has never worked, requiring staff to start from within the bilge.

¢ 3.7 Electronics. 3.5" illuminated Ritchie compass on the dash. (Not installed)

v 3.10 Fire Fighting Equipment. FoamPro 2002 foam proportioning system, FoamPro control display and 20 gallon
poly tank. (Not installed)

~ 3.11 CBRNE Equipment: (Not received)

MSA Safesite N|TX Multi-Threat Detector System

Mini rad-V Radiation Detector

RAE Systems lnc-l\/|ulti rae Plus, 4 gas Plus P|D Detection

Thermo Scientific First Defender RM Handheld Raman spectrometer

Thermo Scientific - Radiation Persona| Detection Unit (RadEye PRD p/n 4250671 w/ho|ster

Pilot house/cabin Venti|ation - American Safe Room-ASR 200-AV-Safe Cel| NBC air filtration system-
120 cfm, 120v AC, 12 v DC battery Backup, with 6 spare replacement filters.
~ 3.12 Loose Equipment.

Adventure lVledical Nlarine Series 1000 First Aid Kit

(6) |Vlustang IV|D3183 PFD with H|T, USCG Type V Commercial - color red

(1) Danforth Anchor for boats 31-36' 16lbs.

(1) PVC coated Anchor Chain Red 5/16 x 5

(1) 5/8 Premium Anchor Line 300’

(1) Boat Hook, F|are Kit, Air Horn

(1) Universa| Head lmmobilier

(1) Philips HeartStart Onsite AED

(1) Professiona| Trauma Bag

l look forward to hearing from you on having the fixed equipment installed here in Michigan. With that in mind can you
also provide a time-line on when we will receive the additional equipment l have referenced?

Michael J. Poulin
l\/luskegon County Sheriff
990 Terrace St.
|Vluskegon Nll, 49442
231-724-6351

Case 1:18-cv-01074-PLl\/l-RSK ECF No. 1-6 filed 09/14/18 PagelD.24 Page 3 of 8

 

From: Tim Spooner - Harbor Guard fmai|to:tim@harborquardboats.com]
Sent: Thursday, March 01, 2018 7:10 PM
To: Michael J. Pou|in

Cc: danny@harborguardboats.com; 'Rao Manka|'
Subject: re: Boat

Sheriff Pou|in,

l received your vmail regarding perhaps having the parts shipped to l\/luskegon to have installed there instead of bringing
the boat back to CA. That is being discussed by management, and may be a better option.

Thanks

Tim Spooner

VP of Sales

Harbor Guard Boats inc
585-350-5531
tim@harborguardboats.com
www.harborguardboats.com
SKYPE: hgboats

Case 1:18-cv-01074-PLl\/l-RSK ECF No. 1-6 filed 09/14/18 PagelD.25 Page 4 of 8

Muskegon Ml, 49442
231-724-6351

 

From: Michael J. Pou|in

Sent: Tuesday, January 30, 2018 10:39 AM
To: 'tim@harborguardboats.com'

Subject: RE: Muskegon County

Thank you for getting back. P|ease understand that l am concerned that the boat will not be back when our season
starts. | would also like to know if we can get our staff members out there the last week it is completed? Our quote
included travel for two, to the factory for sea trial and inspection. This also did not happen. Due to the large amount of
equipment added to this boat, it will require an operational overview.

Thank you.

Michael J. Pou|in
Muskegon County Sheriff
990 Terrace St.
Muskegon lVlI, 49442
231-724-6351

 

From: Tim Spooner - Harbor Guard [mailto:tim@harborguardboats.com]
Sent: Tuesday, January 30, 2018 9:59 AM

To: Michael J. Pou|in

Subject: RE: Muskegon County

They want to transport when they have the parts onsite and are ready to focus on. They don’t want to transport out and
have it sitting around. They would like to have it in/out in 2-3 weeks, when time comes.

Thanks

From: Michael J. Pou|in [mailto:Michael.Pou|in@muskegonsheriff.com]
Sent: Monday, January 29, 2018 1221 PM

To: 'tim@harborguardboats.com' <tim@harborguardboats.com>
Subject: RE: Muskegon County

Mr. Spooner,

Can you give an indication of what that means? This boat could have been transported anytime between my first call
(September 2017) and now. l am fearful that our season will be in full swing by the time this happens.

Michael J. Pou|in

Case 1:18-cv-01074-PLl\/l-RSK ECF No. 1-6 filed 09/14/18 PagelD.26 Page 5 of 8

 

Doug Hughes

From: Michael J. Pou|in <Michael.Pou|in@muskegonsheriff.com>
Sent: Friday, March 23l 2018 9:55 AM

To: Doug Hughes _

Subject: Harbor Guard Emal| Thread

Michael J. Pou|in
Muskegon County Sheriff
990 Terrace St.
Muskegon Ml, 49442
231-724-6351

-"i"'

 

From: Tim Spooner - Harbor Guard [mai|to:tim@harborguardboats.com|
Sent: Monday, January 29, 2018 1:04 PM

To: Michael J. Pou|in

Subject: RE: Muskegon County

Sheriff Pou|in,

l’m waiting on a slated date from production.

Thanks

From: Michael J. Pou|in [mailto:Michael.Pou|in@muskegonsheriff.com]

Sent: Tuesday, January 23, 2018 3:24 PM

To: 'tim@harborguardboats.com' <tim harbor uardboats.com>

Cc: Eisenbarth, Mark <Eisenbarthlvla@_co.muskegon.mi.us>; Dick, Beth <DickBe co.muske on.mi.us>; 'Doug Hughes'

<doughughes@_wi|liamshugheslaw.com>
Subject: RE: Muskegon County

|Vlr. Spooner,

Sending a second request from my email from last week. | would appreciate hearing from you, as | am trying to stay
ahead of this next year’s season.

Michael J. Pou|in
Muskegon County Sheriff
990 Terrace St.
Muskegon Ml, 49442
231-724-6351

Case 1:18-cv-01074-PLl\/l-RSK ECF No. 1-6 filed 09/14/18 PagelD.27 Page 6 of 8

 

From: Michael J. Pou|in
Sent: Wednesday, January 17, 2018 12:01 PM
To: 'tim@harborguardboats.com'

Cc: Eisenbarth, Mark; Dick, Beth; 'Doug Hughes'
Subject: RE: Muskegon County

lVlr. Spooner,

Just following up on your schedule to pick up this vessel so the remaining parts can be installed?

Michael J. Pou|in
Muskegon County Sheriff
990 Terrace St.
Muskegon Ml, 49442
231-724-6351

_"_-,

 

From: Tim Spooner - Harbor Guard [mailto:tim@harborguardboats.com]
Sent: Friday, October 06, 2017 12:08 PM

To: Michael J. Pou|in

Subject: RE: Muskegon County

l\/lanagement prefers to bring the boat back to the factory over the winter for 2-3 weeks to finish up whatever items
remain in house.

They will need to get the remaining parts etc onsite , prior to scheduling a driver to pick up the vessel. They are thinking
a date can be arranged for after the holidays, when there is a window to focus on it.

Thank you

From: Michael J. Pou|in lmailto:Michael.Pou|in@__muskegonsheriff.com]
Sent: Thursday, October 5, 2017 4:00 PM

To: 'tim@harborguardboats.com' <tim harbor uardboats.com>

Cc: Eisenbarth, Mark <Eisenbarthlvla@co.muskegon.mi.us>; Dick, Beth <DickBe co.muske on.mi.us>
Subject: RE: Muskegon County

lVlr. Spooner,

l would appreciate an update on your email from the 26"‘.

Thank you.

Case 1:18-cv-01074-PLl\/l-RSK ECF No. 1-6 filed 09/14/18 PagelD.28 Page 7 of 8

Michael J. Pou|in
Muskegon County Sheriff
990 Terrace St.
Muskegon lVll, 49442
231-724~6351

 

From: Tim Spooner - Harbor Guard lmailto:tim@harborquardboats.coml
Sent: Tuesday, September 26, 2017 10:14 AM

To: Michael J. Pou|in

Subject: RE: Muskegon County

Sheriff Pou|in,
l’m verifying with management how they will address.

Thank you for your patience.

Tim Spooner

VP of Sa|es

Harbor Guard Boats lnc
585-350-5531
tim@harborguardboats.com

www.harborguardboats.com
SKYPE: hgboats

From: Michael J. Pou|in |mai|to:lv|ichael.Pou|in@muskegonsheriff.com]
Sent: Tuesday, September 26, 2017 9:46 AM

To: 'tim@harborguardboats.com' <tim harbor uardboats.com>

Cc: Eisenbarth, Mark <EisenbarthMa@co.muskegon.mi.us>; Dick, Beth <DickBe@_co.muskegon.mi.us>
Subject: Muskegon County

Mr. Spooner,

l had called yesterday and would appreciate a return call or an email response. l am trying to obtain some additional

information on equipment that has not been received by the Sheriff's Office as part of a purchase of a couple of your
boats.

l look forward to speaking with you.

Michael J. Pou|in
Muskegon County Sheriff
990 Terrace St.
Muskegon Ml, 49442
231-724-6351

Case 1:18-cv-01074-PLl\/l-RSK ECF No. 1-6 filed 09/14/18 PagelD.29 Page 8 of 8

 

